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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  NORTHERN DIVISION

UNITED STATES OF AMERICA,

                       Plaintiff,
                                                             Case Number 04-20038-BC
v.                                                           Honorable Thomas L. Ludington

DONALD NORTON YORK, a/k/a Donald York,
DAVID WARREN TICE, JR., a/k/a David Tice,
JAMES LAUGHTON,

                  Defendants.
__________________________________________/

        ORDER DENYING DEFENDANT TICE’S MOTIONS, CONCURRED
          IN BY DEFENDANTS YORK AND LAUGHTON, FOR LIMITING
       THE TESTIMONY OF MCWHORTER, FOR SEVERING DEFENDANTS,
         FOR SEVERING COUNTS, FOR LIMITING DEFENDANT TICE’S
  CROSS-EXAMINATION, AND FOR ADDITIONAL PEREMPTORY CHALLENGES;
   GRANTING IN PART AND DENYING IN PART DEFENDANT TICE’S MOTION
     IN LIMINE, CONCURRED IN BY DEFENDANTS YORK AND LAUGHTON,
           TO PROHIBIT USING THE TERM “MOTORCYCLE GANG;”
     GRANTING DEFENDANT TICE’S AND DEFENDANT YORK’S MOTIONS
                       TO EXTEND MOTION CUTOFF;
   DENYING DEFENDANT TICE’S MOTION, CONCURRED IN BY DEFENDANT
                   LAUGHTON, TO TRANSFER THE TRIAL;
      GRANTING DEFENDANT YORK’S MOTION TO ADJOURN THE TRIAL;
      SETTING THE FINAL PRETRIAL CONFERENCE AND PLEA CUTOFF;
                SETTING DEADLINE FOR FILINGS FOR TRIAL;
                  AND DETERMINING EXCLUDABLE DELAY

       On February 8, 2006, the government filed a sixth superseding indictment against

Defendants Donald York, David Tice, and James Laughton. The indictment includes 27 counts,

charging a variety of offenses, including a conspiracy from a time unknown until July 29, 2004, drug

and firearms offenses occurring in 2004, and offenses involving a murder on March 4, 2002.

                                                 I.

       According to the government, beginning around 1995, several individuals began to obtain
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methamphetamine from Sergio Coria in California. Methamphetamine was distributed to Defendant

Tice, who distributed it to others, including members of the Fly-In-Wheels motorcycle club. The

government also alleges that Defendants York and Laughton were members of the Fly-In-Wheels

motorcycle club and distributed methamphetamine received from Defendant Tice and Coria.

Defendant Laughton was incarcerated until sometime in 2000 and again in 2002.

        In late 2001, Brian Langdon, a member of the Fly-In-Wheels motorcycle club, provided

information to law enforcement authorities, a fact that became publicly known only in early 2002.

The government alleges that, on March 4, 2002, Langdon was shot and killed in retaliation for

providing that information.

        Later in 2002, according to the government, Defendant York told David McWhorter, a friend

and co-participant in drug and gun activities, that Defendants York, Tice, and Laughton carried out

Langdon’s killing. McWhorter was facing criminal charges in the fall of 2003 and became a

government informant (around October 2003, according to Defendant Tice). McWhorter also made

controlled purchases of methamphetamine from Defendants York and Tice in 2004.

        While not contained in the briefing to date, the Court learned at the hearing that McWhorter

testified before a grand jury in Gennessee County about a rival Flint motorcycle club. A transcript

of that testimony was made public and, although redacted, the transcript did identify Defendant

York.

        The government also alleges that Defendant Tice told Chris Perry, another person who

received methamphetamine from Coria, that Defendants Tice and Laughton took care of Langdon

because he was snitching. The government alleges that, after their arrest in 2004, Defendants York

and Tice made admissions to a cellmate that they were involved in Langdon’s murder. The


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government contends that the murder of Langdon was an act in furtherance of the continuing drug

trafficking conspiracy, as a way of silencing potential witnesses who knew of the conspiracy.

                                                 II.

       Defendant Tice filed several motions, in which Defendants York and Laughton concurred.1

Defendant Tice requested limitations on McWhorter’s testimony, limitations on cross-examination

of Defendant Tice, severance of the defendants, and severance of the drug counts from the murder

counts, arguing in these motions the recurring issue of the admissibility of hearsay statements in

light of the Confrontation Clause of the Sixth Amendment. For example, in his motion to limit the

testimony of McWhorter, Defendant Tice argues that a violation of the Confrontation Clause will

occur, if Defendant York’s alleged statement inculpating these three defendants comes into evidence

through McWhorter’s testimony and if Defendant York renders himself unavailable for cross-

examination by asserting his Fifth Amendment right not to testify.

                                                 A.

       In Bruton v. United States, 391 U.S. 123 (1967), the Supreme Court held that admitting the

confession of a non-testifying co-defendant violated the right to confrontation of another defendant.

There, the co-defendant orally confessed that he and the defendant committed a robbery, and the trial

court admitted the confession with a limiting instruction, although the co-defendant did not testify.

While juries are presumed to follow instructions, the Court expressed grave concerns about “the

powerfully incriminating extrajudicial statements of a co-defendant, who stands accused side-by-

side with the defendant.” Id. at 136. The co-defendant was never subject to cross-examination, so


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        As reflected on the Court’s docket and as represented at argument, Defendants York and
Laughton have joined in and concurred in these four motions filed by Defendant Tice. Compare
[dkt ##337, 342, 387; 338, 343, 387; 339, 346, 341, 387; 348, 387].

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placing his confession before a jury, when the confession inculpated the other defendant, violated

the Sixth Amendment. See id.

       The Supreme Court in Bruton addressed confessions, but the Sixth Circuit subsequently

concluded that the rule in Bruton did not extend to bar the use of co-conspirators’ statements against

each other. United States v. Kendricks, 623 F.2d 1165, 1168 (6th Cir. 1980) (citation omitted)

(“Statements made by a co-conspirator during and in furtherance of the conspiracy do not have the

same unreliability as confessions.”); see also United States v. Hamilton, 689 F.2d 1262, 1271 n.5

(6th Cir. 1982) (“Bruton does not prohibit the use as evidence of coconspirators’ statements against

other coconspirators.”) (citations and internal quotations omitted).

       Subsequently, in Crawford v. Washington, 541 U.S. 36 (2004), the Supreme Court

introduced a distinction between testimonial and non-testimonial statements. In Crawford, a wife

did not testify against her husband due to marital privilege, but the trial court admitted her statement

made during a police interrogation, because the statement bore adequate indicia of reliability through

particularized guarantees of trustworthiness under Ohio v. Roberts, 448 U.S. 56 (1980). The

Supreme Court reversed, because the Confrontation Clause requires cross-examination for

testimonial statements, such as ex parte testimony at a preliminary hearing or responses to police

interrogation. See id. at 52. Specifically, the Court held, “Testimonial statements of witnesses

absent from trial have been admitted only where the declarant is unavailable, and only where the

defendant has had a prior opportunity to cross-examine.” Id. at 59 (footnote omitted). Although the

Court stated that the primary object of the Sixth Amendment is testimonial hearsay, see id. at 53,

the Court did not define “non-testimonial statements” or specify what, if any, effect its decision had

on Confrontation Clause challenges to non-testimonial statements. The Court noted, however, that


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long-standing and, thus, permissible exceptions to the general rule of exclusion of hearsay included

such non-testimonial statements as statements in furtherance of a conspiracy. Id. at 56.

       Here, relying on the general outline provided in Crawford and the Sixth Circuit’s definition

of testimonial statements as those that “a reasonable person in the declarant's position would

anticipate . . . being used against the accused in investigating and prosecuting the crime,” United

States v. Cromer, 389 F.3d 662, 675 (6th Cir. 2004), Defendant York’s alleged statement to

McWhorter appears to be non-testimonial. According to the government, McWhorter and Defendant

York were friends, and McWhorter had long participated with the defendants in drug transactions,

which sometimes involved firearms. In the absence of any contrary suggestion, the Court has no

reason to conclude that Defendant York, in allegedly making that statement to a friend and co-

conspirator, would have anticipated its use in a criminal investigation or prosecution. Accordingly,

the alleged statement falls outside the constraints of Crawford.

       Despite the Court’s abrogation of Roberts in Crawford, Roberts continues to govern the

Confrontation Clause analysis of non-testimonial statements. See United States v. Mooneyham, 473

F.3d 280, 287 (6th Cir. 2007); United States v. Martinez, 430 F.3d 317, 329 (6th Cir. 2005). Under

Roberts, an out-of-court statement is admissible if it falls within a firmly rooted hearsay exception

or bears particularized guarantees of trustworthiness. United States v. Franklin, 415 F.3d 537, 546

(6th Cir. 2005) (citing Crawford, 541 U.S. at 60; Roberts, 448 U.S. 56). In Franklin, although the

court reiterated that statements against penal interest are not a firmly established hearsay exception,

the court permitted the admission of the inculpatory statement of a non-testifying co-defendant. Id.

at 547. The facts there revealed particularized guarantees of trustworthiness: a close friendship

between the co-defendant/declarant and the witness and the absence of exaggeration in the


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inculpatory statement. Id. at 548. More importantly, “[c]o-conspirator statements in furtherance

of a conspiracy are both inherently trustworthy and ‘firmly rooted.’” Mooneyham, 473 F.3d at 287

(citing Federal Rule of Evidence 801(d)(2)(E)); see also Crawford, 351 U.S. at 56 (describing, in

dicta, the contrast between prior testimony and exceptions to the general bar to hearsay for such non-

testimonial statements as statements made in furtherance of a conspiracy).

       Here, the limited factual allegations do suggest that Defendant York’s purported statement

to McWhorter was made in furtherance of a conspiracy to distribute methamphetamine. The

admission to McWhorter, then a co-conspirator, that these three defendants killed a person whose

communication with the government threatened the conspiracy was a statement in furtherance of

their conspiracy. Such a statement would have the effect of relating to McWhorter the ongoing

activities of those involved in the conspiracy, the consequence for those who informed on the

conspiracy, and promoting the continued existence of the conspiracy. In addition, the facts available

here suggest a similarity to Franklin, in which a conspirator’s statement to a co-conspirator bore

particularized guarantees of trustworthiness by virtue of their long-standing relationship.

       Consequently, under the Roberts standard applied to non-testimonial statements, testimony

from McWhorter regarding Defendant York’s alleged statement does not violate the confrontation

rights of his co-defendants. The statement falls within the well-settled hearsay exception for co-

conspirator statements and also bears particularized guarantees of trustworthiness as a statement to

a friend. Accordingly, admitting McWhorter’s testimony regarding Defendant York’s inculpatory

statement does not violate the Confrontation Clause in light of Crawford or Bruton.

       Because the foregoing analysis rests on the assumption that Defendant York’s statement was

made in furtherance of a conspiracy, the admission of that statement remains subject to the


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government sustaining its burden under Federal Rule of Evidence 801(d)(2)(E). The government

must “show by a preponderance of the evidence (1) that a conspiracy existed, (2) that the defendant

against whom the hearsay is offered was a member of the conspiracy, and (3) that the hearsay

statement was made in the course and in furtherance of the conspiracy.”2 United States v. Vinson,

606 F.2d 149, 152 (6th Cir. 1979) (citing United States v. Enright, 579 F.2d 980 (6th Cir. 1978)).

In the event that the government has not met this burden prior to the close of its case-in-chief, the

Court will be required to declare a mistrial, unless a cautionary jury instruction would shield the

other defendants from prejudice. See id. at 154.

       Under Vinson, 606 F.2d at 154, the Court may exercise its discretion regarding the means

of determining admissibility under Federal Rule of Evidence 801(d)(2)(E). The court may hold a

mini-hearing without the jury, require the government to produce non-hearsay evidence before

making a finding regarding the admissibility of hearsay statements by co-conspirators, or

conditionally admit the statements, subject to a later demonstration of their admissibility. Id. Here,

a mini-hearing or an in camera review are not warranted because additional consideration of the

evidence would not clarify the relevant factual allegations. Specifically, the single statement

attributed to Defendant York by McWhorter is identified, and the relationship between the declarant


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         Regarding the existence of a conspiracy, the government must show that two or more
people agreed to engage in a common scheme or plan to achieve a criminal purpose. United
States v. Bostic, 480 F.2d 965, 968 (6th Cir. 1973). Once a person has a joined a conspiracy, that
person is liable for all the acts of the conspiracy until the person withdraws from a conspiracy.
United States v. Adamo, 742 F.2d 927, 943-944 (6th Cir. 1984). By extension, evidence
admissible against one member of a conspiracy is admissible against other members of the
conspiracy. Id. at 943. To withdraw from a conspiracy, a person must take an affirmative action
to defeat or disavow the purpose of the conspiracy. United States v. Lash, 937 F.2d 1077, 1084
(6th Cir. 1991). Consequently, contrary to the argument advanced by Defendant Laughton,
absent a showing of withdrawal from the conspiracy, statements made during a period of a co-
conspirator’s incarceration are admissible against that co-conspirator.

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and the anticipated witness is explained. Given the evidence of this statement and the nature of the

alleged conspiracy, the Court is not persuaded of the benefit of an additional hearing, particularly

when the government has acknowledged that a failure to meet its burden to make a showing under

Federal Rule of Evidence 801(d)(2)(E) could result in a mistrial.

                                                   B.

        Defendant Tice also filed a motion to sever the defendants, seeking relief under Federal Rule

of Criminal Procedure 14(a), from a joint trial under Federal Rule of Criminal Procedure 8(b),

because he contends that he will be prejudiced. Specifically, Defendant Tice argues that his

constitutional right to confrontation will be violated by the possible admission of inculpatory

statements allegedly made by Defendant York. Yet, as discussed above, the Sixth Amendment, as

interpreted in Crawford and Bruton, does not require a bar on McWhorter’s testimony. Moreover,

the alleged statement of Defendant York, inculpating all three of these defendants, affects each of

them equally; severance would not protect Defendant Tice from any ill consequence of admitting

that testimony from McWhorter.

        Defendant Tice’s remaining arguments for the severance of the defendants – that Defendant

York might provide exculpatory testimony for Defendant Tice at a separate trial or that a charge of

conspiracy places a co-defendant in an “uneasy seat” – do not suffice to establish prejudice. The

federal criminal justice system has a preference for joint trials for defendants indicted together, and

a motion for severance is in the trial court’s sound discretion. United States v. Davis, 177 F.3d 552,

558 (6th Cir. 1999) (citations omitted). “A defendant seeking severance at trial from co-defendants

bears a strong burden and must demonstrate substantial, undue, or compelling prejudice, . . . [and]

severance is required only if there is a serious risk that a joint trial would compromise a specific trial


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right of one of the defendants, or prevent the jury from making a reliable judgment about guilt or

innocence.” Id. (citations and internal quotations omitted). See also United States v. Beverly, 369

F.3d 516, 534 (6th Cir. 2004) (requiring a showing of “substantial prejudice” to grant severance,

rather than because the likelihood of acquittal increases with severance or because evidence against

a co-defendant is far more damaging); United States v. Bowker, 372 F.3d 365, 385 (6th Cir. 2004)

(not granting severance where the defendant did not make a “convincing” showing of important

testimony about one count and a “strong need” to refrain from testifying on another count).

Defendant Tice’s generalized arguments, without reference to any other constitutional right, do not

rise to the showing of prejudice that would require severance from his co-defendants.

                                                C.

       Similarly, Defendant Tice’s motion for severance of the drug trafficking counts (counts 1-11)

from the murder counts (counts 21-23, 25) also fails. As described above, the federal criminal

justice system has a preference for joint trials for defendants included in the same indictment, and

a defendant bears a heavy burden to demonstrate the need for severance. In this motion, Defendant

Tice again argues the Bruton/Crawford issue, which the foregoing discussion has demonstrated

presents no constitutional bar here. Defendant Tice also argues that two years intervene between

the charges involving a 2002 murder and the drug and firearms charges from activities in 2004. Yet,

as the government points out, the charge of a conspiracy to distribute methamphetamine dates from

a time unknown through July 29, 2004. Allegedly, the 2002 murder was committed in furtherance

of the drug trafficking conspiracy, to serve as a threat to others who might consider informing on

the conspiracy. Federal Rule of Criminal Procedure 8(a) permits joinder of charges if the offenses

“are based on the same act or transaction, or are connected with or constitute parts of a common


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 scheme or plan.” On the facts alleged, the joinder appears proper, and Defendant Tice has not

 identified any prejudice sufficient to justify the severance of the drug trafficking counts from the

 murder counts.

                                                   D.

        Additionally, Defendant Tice filed a motion to limit his cross-examination to only the murder

 charges and to prohibit inquiry into the drug charges. He argued, relying on the Court’s authority

 to set the scope of cross-examination under Federal Rule of Evidence 611(b), that without some

 limitation on the scope of cross-examination, he would be confronted with a difficult choice. He

 could either defend himself against the murder charges, while simultaneously opening himself to

 examination on drug charges, or not defend himself from as to any charge. Yet, apart from referring

 to the Court’s discretion and the interests of justice, Defendant Tice has offered no legal authority

 that requires limiting the scope of cross-examination based on the difficulty and complexity of

 defending against a particular set of charges. Although possibly preferrable as a trial strategy,

 Defendant Tice has shown no justification for placing a limitation on the scope of his cross-

 examination, should he elect to testify.

                                                  III.

        Beyond the motions for limitations on testimony and for severance, Defendant Tice and his

 co-defendants filed several additional motions. Defendant Tice filed a motion for additional

 peremptory challenges under Federal Rule of Criminal Procedure 24(b), in which his co-defendants

 joined.3 He offers no particular justification to granting that request at this juncture. Accordingly,

 his request is denied without prejudice to renewing the motion during voir dire, if a justification for


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         [Dkt ##336, 344, 387].

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 additional peremptory challenges then becomes apparent.

         Defendant Tice, again joined by his co-defendants, filed a motion in limine to prohibit the

 use of the term “motorcycle gang.”4 He challenges the use of that term as prejudicial. The

 government alleges that the interconnection between these three defendants, and others, did involve

 their participation in the Fly-in-Wheels club. “Gang affiliation is particularly relevant, and has been

 held admissible, in cases where the interrelationship between people is a central issue.” United

 States v. Gibbs, 182 F.3d 408, 430 (6th Cir. 1999) (citation and internal quotations omitted). The

 government states that it can show any interrelationship among defendants and others without using

 the term “gang” and will so instruct its witnesses. Accordingly, any prejudice from the use of that

 term will be ameliorated, while still permitting the government to address relationships involving

 the Fly-in-Wheels club.

         Defendants York and Laughton both filed motions to extend the time for filing pretrial

 motions.5 The Court is persuaded that the complexity of the case and the prior indeterminacy

 regarding whether the possibility of the death penalty justifies extending the motion cutoff date.

         Defendant York filed a motion to transfer the case to Flint, Michigan, in which Defendant

 Laughton joined.6 Yet Federal Rule of Criminal Procedure 21(b) permits the transfer of a case to

 another district, not to another division within the same district. Also, Defendant York has not

 offered any justification for requiring the expenditure of additional judicial resources in educating

 a different judge on the intricacies of the case. Accordingly, the case will not be transferred to Flint.



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          [Dkt ##340, 347, 345, 387].
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          [Dkt ##349, 351].
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          [Dkt ##350, 388].

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        Defendant York filed a motion to adjourn the trial.7 Also, on or around April 19, 2007, the

 government provided Defendants with additional and extensive discovery, which included lengthy

 phone records. Consequently, the period between April 19, 2007 and the adjudication of the

 anticipated motions based on this additional discovery shall be deemed excludable for the purpose

 of computing time limits under 18 U.S.C. § 3161(h)(8)(A), because the Court determines that

 additional time is necessary for Defendants to adequately address the issues that will arise from the

 additional discovery recently provided to them. The ends of justice, therefore, are served by this

 delay and outweigh the best interests of the public and Defendants in a speedy trial.

                                                 IV.

        Accordingly, it is ORDERED that Defendant Tice’s motion to limit McWhorter’s testimony

 [dkt #337] is DENIED.

        It is further ORDERED that Defendant Tice’s motion to sever Defendants [dkt #348] is

 DENIED.

        It is further ORDERED that Defendant Tice’s renewed motion to sever counts [dkt #338]

 is DENIED.

        It is further ORDERED that Defendant Tice’s motion to limit the scope of the cross-

 examination of Defendant Tice [dkt #339, 346] is DENIED.

        It is further ORDERED that Defendant Tice’s motion for additional peremptory charges [dkt

 #336] is DENIED.

        It is further ORDERED that Defendant Tice’s motion in limine to prohibit the use of the

 term “motorcycle gang” [dkt ##340, 347] is GRANTED IN PART and DENIED IN PART.


        7
         [Dkt #372].

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        It is further ORDERED that Defendant Tice’s and Defendant York’s motions to extend the

 date for the motion cutoff [dkt ## 349, 351] are GRANTED. The motions cutoff date is extended

 to May 11, 2007.

        It is further ORDERED that Defendant York’s motion to transfer the trial [dkt #350] is

 DENIED.

        It is further ORDERED that Defendant York’s motion to adjourn the trial [dkt #372] is

 GRANTED. The trial shall commence at 8:30 a.m. on July 17, 2007.

        It is further ORDERED that the final pretrial conference and plea cutoff are set for June 11,

 2007 at 2:30 p.m.

        It is further ORDERED that witness lists, exhibit lists, proposed jury instructions, and

 proposed voir dire questions shall be filed on or before July 2, 2007. Exhibit lists will not be

 accepted if they are not in the grid format approved by the Court.

        It is further ORDERED that the time period between April 19, 2007 and the adjudication

 of the anticipated motions shall be excluded for the purposes of computation of the time limits under

 18 U.S.C. § 3161(h)(8)(A).

                                                         s/Thomas L. Ludington
                                                         THOMAS L. LUDINGTON
                                                         United States District Judge

 Dated: May 7, 2007


                                                  PROOF OF SERVICE

                          The undersigned certifies that a copy of the foregoing order was served
                          upon each attorney or party of record herein by electronic means or first
                          class U.S. mail on May 7, 2007.

                                                            s/Tracy A. Jacobs
                                                            TRACY A. JACOBS




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